78 F.3d 595
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Alan Totten BEHRLE, Defendant-Appellant.
    No. 95-30142.
    United States Court of Appeals, Ninth Circuit.
    Submitted Feb. 27, 1996.*Decided March 5, 1996.
    
      Before:  PREGERSON, CANBY and HAWKINS, Circuit Judges.
      MEMORANDUM**
      We dismiss Alan Totten Behrle's appeal for lack of jurisdiction under 18 U.S.C. § 3402, and remand his timely notice of appeal filed in the district court for further proceedings in that court.   United States v. Soolock, 987 F.2d 574 (9th Cir.1993).
      DISMISSED AND REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    